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                     UNITED STATES DISTRICT COURT
                         DISTRICT OFMINNESOTA
                     CRIMINAL NO. 18-62 (DSD/KMM)

United States of America,

                Plaintiff,

v.                                                 ORDER

Shari Ann Natysin,

                Defendant.


     This matter is before the court upon the pro se motion by

defendant Shari Ann Natysin to vacate, set aside, or correct her

sentence under 28 U.S.C. § 2255.     Based upon a review of the file,

record, and proceedings herein, and for the following reasons, the

court denies the motion and denies a certificate of appealability.



                              BACKGROUND

     On February 28, 2019, Natysin pleaded guilty to nine counts

of wire fraud, two counts of tax evasion, and one count of filing

a false tax return.     The court sentenced Natysin to 46 months’

imprisonment to be followed by three years of supervised release.

Natysin unsuccessfully appealed her sentence to the Eighth Circuit

Court of Appeals.    See United States v. Natysin, 966 F.3d 739 (8th

Cir. 2020).   Natysin now moves for relief under § 2255, arguing

that her counsel was ineffective in failing to challenge the

Presentence   Investigation   Report’s     (PSR)   calculation   of   her
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criminal history score.        She did not contest her criminal history

score on her direct appeal. 1



                                   DISCUSSION

I.   Standard of Review

     Section    2255    provides     a   federal   inmate   with   a   limited

opportunity    to   challenge      the   constitutionality,    legality,    or

jurisdictional basis of a sentence imposed by the court.                  This

collateral     relief    is   an   extraordinary    remedy,   reserved     for

violations of constitutional rights that could not have been raised

on direct appeal.       United States v. Apfel, 97 F.3d 1074, 1076 (8th

Cir. 1996).      “Beyond that, the permissible scope of a § 2255

collateral attack on a final conviction or sentence is severely

limited; an error of law does not provide a basis for collateral

attack unless the claimed error constituted a fundamental defect

which inherently results in a complete miscarriage of justice.”

Sun Bear v. United States, 644 F.3d 700, 704 (8th Cir. 2011)

(internal quotation marks and citations omitted).                  Under this

principle, “ordinary questions of guideline interpretation falling

short of the ‘miscarriage of justice’ standard do not present a




     1  Natysin asserts that she did not discover the errors
until after her direct appeal was finalized. ECF No. 179, at 6,
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proper section 2255 claim.”           Id. (quoting Auman v. United States,

67 F.3d 157, 161 (8th Cir. 1995)).

      When     considering    a   §   2255   motion,   a   court   may    hold    an

evidentiary hearing.         See 28 U.S.C. § 2255(b).        A hearing is not

required, however, when “(1) the petitioner’s allegations, accepted

as true, would not entitle the petitioner to relief, or (2) the

allegations       cannot   be     accepted    as   true    because       they    are

contradicted by the record, inherently incredible, or conclusions

rather than statements of fact.”             Sanders v. United States, 341

F.3d 720, 722 (8th Cir. 2003) (citation and internal quotation

marks omitted).       Here, no hearing is required because the stated

ground for relief is improper and, in any event, facially meritless.

II.   Merits

      As a threshold matter, Natysin has failed to raise a proper

§ 2255 claim because she bases her motion on “ordinary questions

of guideline interpretation” that do not rise to the level of a

“miscarriage of justice.”          Sun Bear, 644 F.3d at 704.        Her claims

nevertheless fail even if considered on the merits. 2




      2 Natysin procedurally defaulted by not raising the issues
now before the court on direct appeal. Ineffective assistance of
appellate counsel may, however, “constitute cause and prejudice to
overcome a procedural default.” Becht v. United States, 403 F.3d
541, 545 (8th Cir. 2005) (citation omitted).

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       To establish a claim of ineffective assistance of counsel,

Merrell must meet both prongs of the test set forth in Strickland

v. Washington, 466 U.S. 668 (1984).         First, Natysin must show that

her counsel’s performance was so deficient that it fell below the

level of representation guaranteed by the Sixth Amendment.           Id. at

687.    Second, she must establish prejudice by showing “a reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceedings would have been different.”          Id. at 694.

       Natysin   argues    that    her   counsel   was    constitutionally

ineffective in failing to challenge two aspects of the PSR’s

calculation of her criminal history points.         She first argues that

the PSR incorrectly assigned her one criminal history point for a

July 2005 conviction for theft.      See ECF No. 112 ¶ 57.    She contends

that under U.S.S.G. § 4A1.2(c)(2), no points should be assigned for

that conviction because it occurred more than ten years before the

instant criminal activity.        Although she did not raise this issue

on direct appeal, she did object to the PSR’s determination at the

time of sentencing.       Id. at A.4-A.5.     The PSR concluded, and the

court implicitly agreed, that the objection lacked merit because

relevant conduct for the instant offense began on October 1, 2014,

less than ten years after the theft conviction.                Under these

circumstances,      Natysin’s     counsel    was   not    constitutionally



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ineffective with respect to this issue.

        Natysin next argues that she should not have been assigned two

additional criminal history points for her February 2016 conviction

for theft by swindle because she did not commit the instant offense

while under a criminal justice sentence for that crime.              ECF No.

112 ¶ 62.       She contends that she was placed on “administrative

unsupervised probation” for the theft by swindle conviction, which

does not qualify as a “criminal justice sentence.”             ECF No. 179,

at 5.     Her counsel did not object to this aspect of the PSR at the

time of sentencing.        This is likely because the argument lacks

merit.

        Under U.S.S.G. § 4A1.1(d), two criminal history points are

added if defendant “committed the instant offense while under any

criminal justice sentence, including probation parole, supervised

release, imprisonment, work release, or escape status.”            “Criminal

justice sentence” is defined as “having a custodial or supervisory

component, although active supervision is not required ... For

example, a term of unsupervised probation would be included[.]”

Id. cmt. n.4.     Given the definition of “criminal justice sentence,”

there is no question that two criminal history points were properly

added for Natysin’s theft by swindle conviction.              As a result,

Natysin’s counsel was not constitutionally ineffective with respect



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to this issue either.

III. Certificate of Appealability

     To warrant a certificate of appealability, a defendant must

make a “substantial showing of the denial of a constitutional right”

as required by 28 U.S.C. ' 2253(c)(2).         A “substantial showing”

requires a petitioner to establish that “reasonable jurists” would

find the court’s assessment of the constitutional claims “debatable

or wrong.” Slack v. McDaniel, 529 U.S. 473, 483B84 (2000).                  As

discussed, the court is firmly convinced that Natysin’s motion is

baseless, and that reasonable jurists could not differ on the

results given the nature of her arguments.                A certificate of

appealability is not warranted.



                               CONCLUSION

     Accordingly, based on the above, IT IS HEREBY ORDERED that:

     1.   The motion to vacate, set aside, or correct sentence [ECF

No. 179] is denied; and

     2.   Pursuant   to   28   U.S.C.   '   2253,   the    court   denies   a

certificate of appealability.

LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: October 19, 2020                 s/David S. Doty
                                        David S. Doty, Judge
                                        United States District Court



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